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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

GRANT L. ASHLEY,                           )
                                           )
     Plaintiff,                            )
                                           )
v.                                         )       Case No. CIV-16-443-M
                                           )
UNIVERSITY OF OKLAHOMA,                    )
                                           )
     Defendant.                            )

                                 AMENDED JUDGMENT

     Pursuant to a separate order issued this same date, this action is hereby dismissed.

     ENTERED at Oklahoma City, Oklahoma this 17th day of August, 2016.
